        Case: 14-1617    Document: 204             Page: 1   Filed: 06/19/2015




                           Nos. 14-1617, 14-1619
                                   In the
 United States Court of Appeals for the Federal Circuit

                    LEXMARK INTERNATIONAL, INC.,
                                        Plaintiff-Cross-Appellant,
                                        v.
                   IMPRESSION PRODUCTS, INC., et al.,
                                               Defendant-Appellant.
                        (Full caption on inside cover)


          Appeals from the United States District Court
    for the Southern District of Ohio, Judge Michael R. Barrett


  BRIEF OF PUBLIC KNOWLEDGE, THE ELECTRONIC FRONTIER
FOUNDATION, THE OPEN SOURCE HARDWARE ASSOCIATION, THE
DIGITAL RIGHT TO REPAIR COALITION, AND PUBLIC CITIZEN, INC.
         AS AMICI CURIAE IN SUPPORT OF APPELLANT
                   IMPRESSION PRODUCTS


 Vera Ranieri                                Charles Duan
 Electronic Frontier Foundation                 Counsel of Record
 815 Eddy Street                             Sherwin Siy
 San Francisco, CA 94109                     Raza Panjwani
 (415) 436-9333                              Public Knowledge
 vera@eff.org                                1818 N Street NW, Suite 410
                                             Washington, DC 20036
                                             (202) 861-0020
                                             cduan@publicknowledge.org

                            Counsel for amici curiae

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   Case: 14-1617     Document: 204   Page: 2   Filed: 06/19/2015




              LEXMARK INTERNATIONAL, INC.,
                                               Plaintiff-Cross-Appellant,
                                v.
                   IMPRESSION PRODUCTS, INC.,
                                                   Defendant-Appellant;
QUALITY CARTRIDGES, INC., JOHN DOES, 1–20, BLUE TRADING
  LLC, EXPRINT INTERNATIONAL, INC., LD PRODUCTS, INC.,
 PRINTRONIC CORPORATION, TESEN DEVELOPMENT (HONG
   KONG) CO. LTD., BENIGNO ADEVA AND HIS COMPANIES,
                                                             Defendants.
           Case: 14-1617     Document: 204     Page: 3   Filed: 06/19/2015




                         CERTIFICATE OF INTEREST

   Pursuant to Rules 29(a) and 47.4 of the Federal Circuit Rules of Practice, coun-

sel of record certifies as follows:

   (1) The full name of every party or amicus represented by counsel to this brief

is Public Knowledge, the Electronic Frontier Foundation, the Open Source

Hardware Association, the Digital Right to Repair Coalition, and Public

Citizen, Inc.

   (2) The above-identified parties are the real parties in interest.

   (3) The corporate disclosure statement of Rule 26.1 of the Federal Rules of

Appellate Procedure is as follows: There is no parent corporation to or any cor-

poration that owns 10% or more of stock in the above-identified parties or amici

curiae.

   (4) The names of all law firms and the partners and associates that have ap-

peared for the party in the lower tribunal or are expected to appear for the party

in this court are: Charles Duan, Sherwin Siy, and Raza Panjwani, Public

Knowledge, Washington, DC; and Vera Ranieri, Electronic Frontier Foun-

dation, San Francisco, CA.




Dated: June 19, 2015              /s/ Charles Duan
                                  Charles Duan
                                  Counsel for amici curiae

                                         (i)
           Case: 14-1617      Document: 204      Page: 4   Filed: 06/19/2015




                              TABLE OF CONTENTS
CERTIFICATE OF INTEREST . . . . . . . . . . . . . . . . . . . . . . . . . . . i
TABLE OF AUTHORITIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . iii
INTEREST OF AMICI CURIAE . . . . . . . . . . . . . . . . . . . . . . . . . . 1
SUMMARY OF ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
I.    Patent Exhaustion Is a Consumer Protection Doctrine That Should Be
      Broadly Construed to Protect Personal Property Ownership Rights . . . 6
      A.   Copyright and Anti-Circumvention Cases Disapprove of Using
           Intellectual Property Law to Control Use of Purchased Goods . . . 6
      B.   The Law Has Long Disfavored Limits on Free Alienation of Prop-
           erty to Protect Consumers . . . . . . . . . . . . . . . . . . . . . . . 11
      C.   Patent Exhaustion Promotes Numerous Important Consumer In-
           terests . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
II.   Jazz Photo Should Be Overruled, as an International Authorized Sale
      Should Give Rise to Exhaustion . . . . . . . . . . . . . . . . . . . . . . . 17
      A.   Kirtsaeng’s Reasoning About the Copyright First Sale Doctrine
           Applies Without Distinction to Patent Exhaustion . . . . . . . . . . 18
      B.   International Exhaustion Is the Preferable Policy, Because It
           Avoids Anticompetitive Effects . . . . . . . . . . . . . . . . . . . . 22
III. Post-Sale Restrictions on Use of a Product Do Not Abrogate Patent
     Exhaustion for That Product . . . . . . . . . . . . . . . . . . . . . . . . . 24
      A.   Mallinckrodt’s Cramped “Implied License” Theory Cannot Fully
           Embrace Quanta’s Broad View of Exhaustion . . . . . . . . . . . . 25
      B.   The Conditional Sale Doctrine Permits Manufacturers to Burden
           Consumers’ Use of Purchased Goods Unduly . . . . . . . . . . . . . 27
      C.   Intellectual Property Law Should Not Become a Vehicle of Con-
           tract Enforcement Against Non-Privy Third Parties . . . . . . . . . 29
CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31
CERTIFICATE OF COMPLIANCE . . . . . . . . . . . . . . . . . . . . . . . . 32
CERTIFICATE OF SERVICE . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33

                                          (ii)
           Case: 14-1617     Document: 204       Page: 5   Filed: 06/19/2015




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   84 U.S. (17 Wall.) 453 (1873) . . . . . . . . . . . . . . . . . . . . . . . . . 25

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   377 U.S. 476 (1964) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16

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   975 F.2d 832 (Fed. Cir. 1992) . . . . . . . . . . . . . . . . . . . . . . . . . 10

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   229 U.S. 1 (1913) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13, 21, 25

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   55 U.S. (14 How.) 539 (1852) . . . . . . . . . . . . . . . . . . . . . . . . . 12

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   210 U.S. 339 (1908) . . . . . . . . . . . . . . . . . . . . . . . . . . 12–13, 21

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   133 U.S. 697 (1890) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22

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   509 U.S. 209 (1993) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

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                                         (iii)
           Case: 14-1617     Document: 204      Page: 6   Filed: 06/19/2015




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   157 U.S. 659 (1895) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29

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   62 U.S. (21 How.) 322 (1859) . . . . . . . . . . . . . . . . . . . . . . . . . 28

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    133 S. Ct. 1351 (2013) . . . . . . . . . . . . . . . . . . . . 4, 13, 15, 17–22, 28

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   551 U.S. 877 (2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

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   v. Static Control Components, Inc. (“Static Control”),
   387 F.3d 522 (6th Cir. 2004) . . . . . . . . . . . . . . . . . . . . . . . . 8–10

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   976 F.2d 700 (Fed. Cir. 1992) . . . . . . . . . . . . . . . . . . . . . 24–28, 31

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   545 U.S. 913 (2005) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21

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   243 U.S. 502 (1917) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 28

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   553 U.S. 617 (2008) . . . . . . . . . . . . . . . . . . . . . . . . . 5, 24–27, 29

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                                         (iv)
           Case: 14-1617     Document: 204      Page: 7    Filed: 06/19/2015




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    v. Custom Hardware Engineering & Consulting, Inc.,
    421 F.3d 1307 (Fed. Cir. 2005) . . . . . . . . . . . . . . . . . . . . . . . 8, 29

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    243 U.S. 490 (1917) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

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                                          (v)
           Case: 14-1617      Document: 204      Page: 8   Filed: 06/19/2015




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                                          (vi)
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                                        (vii)
         Case: 14-1617     Document: 204      Page: 10   Filed: 06/19/2015




                         INTEREST OF AMICI CURIAE

   Amici curiae¹ are public interest groups and trade associations who share a

common interest in balanced intellectual property rights that protect consumers’

rights to use, repair, and resell their personal property. Amici represent a wide

range of interests, including consumer advocacy, digital civil liberties, product

repair and resale, and access to medicines.

   Public Knowledge is a non-profit organization dedicated to preserving the

openness of the Internet and the public’s access to knowledge, promoting cre-

ativity through balanced intellectual property rights, and upholding and protect-

ing the rights of consumers to use innovative technology lawfully. As part of

this mission, Public Knowledge advocates on behalf of the public interest for a

balanced patent system, particularly with respect to new, emerging technologies.

   The Electronic Frontier Foundation is a non-profit civil liberties organization

that has worked for more than 20 years to protect consumer interests, innovation,

and free expression in the digital world. EFF and its more than 21,000 dues-paying

members have a strong interest in helping the courts and policy-makers strike

the appropriate balance between intellectual property and the public interest.

   ¹This brief is filed pursuant to this Court’s sua sponte order for rehearing en
banc, dated April 14, 2015. Pursuant to Rule 29(c)(5), no counsel for a party au-
thored this brief in whole or in part, and no counsel or party made a monetary
contribution intended to fund the preparation or submission of the brief. No per-
son or entity, other than amici, their members, or their counsel, made a monetary
contribution to the preparation or submission of this brief.

                                        1
          Case: 14-1617     Document: 204   Page: 11   Filed: 06/19/2015




   The Open Source Hardware Association aims to be the voice of the open hard-

ware community. Open source hardware is hardware whose design is made pub-

licly available so that anyone can study, modify, distribute, make, and sell the

design or hardware based on that design. OSHWA works toward ensuring that

technological knowledge is accessible to everyone, and encouraging the collabo-

rative development of technology that serves education, environmental sustain-

ability, and human welfare.

   The Digital Right to Repair Coalition encompasses more than twenty not-

for-profit trade associations, consumer advocacy groups, and environmental ad-

vocates who are committed to defending the right to repair, reuse and recycle

electronics products and services. As part of that mission, DRTR seeks to pro-

mote intellectual property laws that serve the public interest by balancing the

needs of copyright holders, patent holders, and the public. DRTR members both

buy and sell equipment and parts throughout the global economy. Limitations

on the availability of such equipment and parts based on the dead hand of con-

trol post-purchase would have a devastating effect on aftermarket technology

trading, repair, and services.

   Public Citizen, Inc., is a national consumer-advocacy organization based in

Washington, D.C., with more than 400,000 members and supporters nationwide.

Public Citizen is active before Congress, administrative agencies, and the courts



                                       2
          Case: 14-1617    Document: 204     Page: 12    Filed: 06/19/2015




on a variety of consumer-protection issues. Public Citizen has long been con-

cerned about the effect on consumers of expansive, unjustified and anticompet-

itive claims of intellectual property rights. Public Citizen is also critically con-

cerned about the availability of affordable medications both in this country and in

the developing world, an issue it pursues through its Global Access to Medicines

Program. For this reason, it is particularly troubled by unfounded assertions that

limiting the patent exhaustion doctrine will somehow enhance consumers’ access

to medicines.



                          SUMMARY OF ARGUMENT

   Though by jurisdictional mandate this Court’s focus has been on ownership

rights in inventions, the present case deals with a much more fundamental type of

property: consumer rights in personal objects, bought and sold in commerce. To

defend these consumer rights, the doctrine of patent exhaustion must be strongly

protected against limitation.

   1.   Exhaustion should be construed broadly to protect consumers of pur-

chased goods from overreaching attempts by sellers to extend a dead hand of

control against those consumers or even unknowing third parties. The doctrine

of patent exhaustion derives from centuries-old common law principles disfavor-

ing restraints on alienability of property. They are principles that have survived



                                         3
          Case: 14-1617    Document: 204    Page: 13    Filed: 06/19/2015




the test of time because they support critical and essential policy objectives of

protecting consumer rights, avoiding monopolistic practices, and promoting ef-

ficient markets and administrative efficiency.

   Given this law and policy favoring free and unburdened ownership of goods,

one might expect that courts would look disfavorably upon attempts to use in-

tellectual property law to restrict and burden such ownership, particularly in sit-

uations where the intellectual property interest is attenuated. And the jurispru-

dence bears this out: this Court and many others have time and again rejected

attempts by product manufacturers to twist copyright and anti-circumvention

laws into monopolistic tools of post-sale control. This Court should not allow

patent law to be so twisted either.

   2. In this case, Lexmark attempts to circumvent this central doctrine of

patent exhaustion and turn patent law into a lever of consumer restriction in

two ways. Both should fail.

   First, Lexmark contends that patent exhaustion doctrine should not apply to

product sales outside the United States. But the Supreme Court directly rebuffed

a precisely analogous argument in Kirtsaeng v. John Wiley & Sons, Inc. based on

reasoning that is fully applicable to the present case: reasoning based on the

historical disapproval of and policy problems with post-sale restraints on use

and alienability of purchased goods. Lexmark had the opportunity to receive full



                                        4
          Case: 14-1617    Document: 204     Page: 14    Filed: 06/19/2015




and just compensation for its sale outside the United States; its attempt to get a

second bite at the patent royalty apple upon importation of the sold product is

nothing more than a consumer-detrimental attempt at price discrimination that

cannot be enforced through patent law.

   Second, Lexmark suggests that its contractual provisions on the sale of its

product were sufficient to circumvent a finding of patent exhaustion. But Quanta

Computer, Inc. v. LG Electronics, Inc. rejected the notion that a cause for patent

infringement could arise in relation to a product after it was sold, regardless of

such contractual provisions. To permit an infringement action to go forward

could open up a vast range of third parties to liability, many in totally unexpected

and economically unproductive ways.

   Lexmark may have causes of action under contract law. But to allow a man-

ufacturer to use patent law, a system designed to promote dissemination of new

inventions, for purposes of controlling consumers’ use of lawfully purchased

goods—that is a stretch too far. The common law has looked down upon it, other

intellectual property domains have rejected it, and this Court in the context of

patent exhaustion should turn it down as well.




                                         5
           Case: 14-1617    Document: 204    Page: 15   Filed: 06/19/2015




                                   ARGUMENT

I.   Patent Exhaustion Is a Consumer Protection Doctrine That
     Should Be Broadly Construed to Protect Personal Property
     Ownership Rights

     Patent exhaustion protects the rights of consumers to use and sell their prop-

erty without unexpected interference from patentees. This doctrine ought to be

broadly construed to strongly protect those consumers.

     Courts have consistently held that intellectual property rights cannot be

leveraged to exert post-sale control over products. These holdings derive from

centuries-old common law principles disfavoring restraints on alienability and

use of property, and further serve important policy interests of consumer protec-

tion. These judicial holdings, common law doctrines, and policy goals should all

point this Court toward construing the patent exhaustion doctrine expansively,

not permitting the sort of manufactured limitations on the doctrine that Lexmark

seeks to introduce in this case.


A.    Copyright and Anti-Circumvention Cases Disapprove of Us-
      ing Intellectual Property Law to Control Use of Purchased
      Goods

     It is a concerningly commonplace occurrence for companies to call upon in-

tellectual property law not to protect their creative contributions but rather to

command a dead hand of control on consumer-purchased commodities. Copy-

right and the related anti-circumvention prohibitions of the Digital Millennium

                                         6
          Case: 14-1617    Document: 204    Page: 16     Filed: 06/19/2015




Copyright Act (DMCA), 17 U.S.C. § 1201 (2012), have popularly been the basis

for such attempts, and this Court and others have repeatedly rejected those over-

broad assertions of rights. The regular refusal of courts to turn copyright law and

§ 1201 into a mechanism of post-sale consumer control should cause this Court

to look askance at Lexmark’s attempt to do the same with patent law here.

   1. The anti-circumvention provisions of § 1201 generally proscribe attempts

to circumvent effective technological measures that protect access to copyrighted

works, and courts have repeatedly said that those proscriptions are not to be used

purely for exerting future control over goods absent a substantial intellectual

property interest nexus.

   In Chamberlain Group, Inc. v. Skylink Technologies, Inc., a garage door opener

manufacturer claimed that a maker of competing and compatible garage opener

transmitters had violated § 1201 because the competing transmitters had circum-

vented a technological measure, namely an encrypted garage door opening sig-

nal. See 381 F.3d 1178, 1185 (Fed. Cir. 2004). But Chamberlain rejected this § 1201

theory, because the manufacturer had failed to show substantial injury to under-

lying intellectual property rights, and rather asserted § 1201 purely to prevent

competition in its consumer products. See id. at 1201.

   This Court refused to read that statute to allow a manufacturer “to restrict

consumers’ rights to use its products in conjunction with competing products.”



                                        7
          Case: 14-1617     Document: 204     Page: 17    Filed: 06/19/2015




Id. To hold otherwise “would allow virtually any company to attempt to lever-

age its sales into aftermarket monopolies—a practice that both the antitrust laws

and the doctrine of copyright misuse normally prohibit.” Id. (citations omitted).

Chamberlain thus held that intellectual property protection could not be wielded

as a sword to cut off consumer aftermarket decisions.

   Following Chamberlain, this Court considered whether the maker of a data

backup system could maintain a § 1201 claim against a developer of a mainte-

nance program that circumvented the backup system’s technological measures

to trace errors in that system. See Storage Tech. Corp. v. Custom Hardware Eng’g

& Consulting, Inc., 421 F.3d 1307, 1310 (Fed. Cir. 2005). The backup system maker

noted that its contracts with customers prohibited the use of such maintenance

programs, but nevertheless this Court found no violation of the DMCA: “The acti-

vation of the maintenance code may violate [the backup system manufacturer]’s

contractual rights vis-à-vis its customers, but those rights are not the rights pro-

tected by copyright law.” Id. at 1319.

   And in a case involving highly similar facts (and one of the same parties) to the

present appeal, the Sixth Circuit refused to find a violation of § 1201 by a manu-

facturer of computer chips that circumvented technological protection measures

designed to prevent refilling of printer ink cartridges. Lexmark Int’l, Inc. v. Static

Control Components, Inc. (“Static Control”), 387 F.3d 522, 546–47 (6th Cir. 2004).



                                          8
          Case: 14-1617     Document: 204     Page: 18   Filed: 06/19/2015




In reaching that conclusion, that court noted that nowhere in the legislative his-

tory of that statute “did Congress express an interest in creating liability for the

circumvention of technological measures designed to prevent consumers from

using consumer goods.” Id. at 549.

   Accordingly, courts have consistently held that copyright anti-circumvention

law does not authorize post-sale restrictions on commodities not substantially

related to the underlying intellectual property right.

   2.   Courts have also rejected manufacturers’ attempts at post-sale product

control through direct copyright infringement suits.

   Manufacturers sometimes embed “lock-out codes” in product components

(such as toner cartridges or single-serve coffee pods). When those components

are installed into the main product (a laser printer or coffee machine), the main

product queries the components for the lock-out code, and the product will refuse

to operate absent a correct code. See Julie E. Cohen, Reverse Engineering and the

Rise of Electronic Vigilantism: Intellectual Property Implications of “Lock-Out” Pro-

grams, 68 S. Cal. L. Rev. 1091, 1094–95 (1995).

   Third-party makers of compatible components then install the lock-out code

in their components to ensure that the main product will operate, and in several

cases the original manufacturer has sued those third-party component makers

on the theory that the lock-out code is copyrighted. See id. at 1095.



                                         9
          Case: 14-1617    Document: 204     Page: 19   Filed: 06/19/2015




   This copyright infringement theory has been uniformly rejected as an im-

proper application of copyright law to stop consumer choice in physical goods.

See Static Control, 387 F.3d at 536 (code sequence required to operate product

held uncopyrightable); see also Sega Enters. Ltd. v. Accolade, Inc., 977 F.2d 1510,

1524 & n.7 (9th Cir. 1992) (incorporation of unlocking code into came console

cartridge deemed fair use); Atari Games Corp. v. Nintendo of Am., Inc., 975 F.2d

832, 840 (Fed. Cir. 1992) (no clear error in district court’s conclusion that “the

generation of a data stream to unlock a console” was unprotectable idea or pro-

cess).² The purpose of copyright is to promote creation, not to crush competition

in consumer goods, and courts have refused to permit copyright to be used to

such ends.

   Accordingly, with respect to both copyright law and § 1201 of the DMCA,

courts consistently refuse to let intellectual property law transmogrify into a

post-sale lever of control over consumer products. This Court should similarly

refuse to turn patent law into such an undue and anticompetitive mechanism for

manufacturers.

    ²While Atari ultimately found that copyright infringement had occurred, the
infringement was copying of computer code that generated the unlocking code,
not copying of the unlocking code itself, and the Court found that there were
multiple ways that the computer code could have been implemented. See 975
F.2d at 840.




                                        10
           Case: 14-1617    Document: 204     Page: 20   Filed: 06/19/2015




B.    The Law Has Long Disfavored Limits on Free Alienation of
      Property to Protect Consumers

     An overarching concern about dead hand control over goods after sale to

consumers is the consistent theme of the patent exhaustion doctrine, the corre-

sponding copyright first sale doctrine, and the common law of property.

     Jurisprudential disapproval of restraints on post-sale use of property derives

through at least four centuries of common law. As far back as 1628, Sir Edward

Coke, Lord Chief Justice,³ wrote that a post-sale restraint on alienability is void

because it unnecessarily impinges on the free exchange of goods, saying that

such restraint “is against Trade and Traffique, and bargaining and contracting

between man and man: and it is within the reason of our Author that [the initial

sale] should ouster him of all power given to him.” 1 Edward Coke, Institutes of

the Lawes of England § 360, at 223 (1628).

     Venerable doctrines of common law similarly protect consumers against post-

sale restrictions. The rule against perpetuities, the rule in Shelley’s case, and the

general common law rules against restraints on alienation of real property all

reflect a general aversion of the law toward attempts by property sellers to main-

    ³According to English practice, Edward Coke held the title of “Lord” only
while on the bench, and accordingly would properly be styled “Sir Edward Coke”
at the time of publication of his treatise. But American jurisprudence has con-
ventionally used the appellation “Lord Coke,” and so that convention is followed
subsequently in this brief.



                                         11
          Case: 14-1617     Document: 204         Page: 21   Filed: 06/19/2015




tain a dead hand of control after the sale. See George L. Haskins, Extending the

Grasp of the Dead Hand: Reflections on the Origins of the Rule Against Perpetuities,

126 U. Pa. L. Rev. 19, 20, 31 n.40 (1977).

   Patent exhaustion is a direct outgrowth of the general rejection of post-sale

restraints and accordingly reflects the same consumer protection rationale. In

one of the first cases to articulate the doctrine, the Supreme Court echoed Lord

Coke’s free market reasoning, finding it improper to “authorize an inventor to

recall rights which he had granted to others” through sale of a product. Bloomer v.

McQuewan, 55 U.S. (14 How.) 539, 554 (1852). Subsequently, in invoking patent

exhaustion to refuse to enforce a “License Notice” restricting further sale of a

patented device, the Supreme Court called the License Notice “hateful to the law

from Lord Coke’s day to ours, because obnoxious to the public interest.” Straus v.

Victor Talking Mach. Co., 243 U.S. 490, 501 (1917).

   The copyright analogue of patent exhaustion, the first sale doctrine, see 17

U.S.C. § 109(a) (2012), also developed out of these broad consumer protection val-

ues. Bobbs-Merrill Co. v. Straus held that a minimum resale price restriction could

not be enforced through copyright, because “one who has sold a copyrighted ar-

ticle, without restriction, has parted with all right to control the sale of it.” 210

U.S. 339, 350 (1908).⁴ The Supreme Court reached that result, in part, out of a con-

   ⁴Lexmark contends that Bobbs-Merrill rejects a sharing of doctrinal principles
between copyright and patent law. Not so: Bobbs-Merrill merely found it unnec-

                                             12
          Case: 14-1617     Document: 204      Page: 22   Filed: 06/19/2015




cern for giving the copyright holder unexpected post-sale powers, a concern for

giving “a right not included in the terms of the statute” defining copyright. Id. at

351. More recently, Kirtsaeng v. John Wiley & Sons, Inc., 133 S. Ct. 1351 (2013), re-

jected a publisher’s attempt to use copyright to block cross-border movement of

sold copies of books, specifically citing to Lord Coke on “the importance of leav-

ing buyers of goods free to compete with each other when reselling or otherwise

disposing of those goods.” Id. at 1363.

   Accordingly, the common law, patent exhaustion, and copyright first sale

have all consistently disfavored attempts by sellers to maintain a dead hand of

control on products after sale. Consistent with this venerated legal tradition, this

Court should not permit Lexmark to use patent rights to keep its fingers on goods

lawfully purchased by consumers.


C. Patent Exhaustion Promotes Numerous Important Consumer
   Interests

   It is not only the long tradition of common law that supports an expansive

reading of patent exhaustion: patent exhaustion provides numerous important

practical benefits to consumers.

essary to rely on patent exhaustion to develop its copyright first sale doctrine,
as first principles about property ownership were sufficient. See id. at 346. And
just five years later, the Supreme Court did rely on Bobbs-Merrill to articulate its
patent exhaustion doctrine, noting the “strong similarity between and identity of
purpose in the two statutes.” Bauer & Cie v. O’Donnell, 229 U.S. 1, 13 (1913).


                                          13
          Case: 14-1617    Document: 204     Page: 23   Filed: 06/19/2015




   1. Consumers highly value freedom to use purchased products and despise

post-sale restrictions on those products, as several recent examples show.

   Several months ago, the coffeemaker manufacturer Keurig implemented lock-

down technology into the Keurig 2.0 machine, preventing the machine from be-

ing used with single-serve coffee cups other than those authorized by Keurig.

Consumers were outraged, going so far as to say, “I will never buy another Keurig

product. This borders on the unethical forcing people to buy only the K-cups you

make.” Fred Barbash, Keurig’s K-Cup Screw-up and How It K-pitulated to Angry

Consumers, Wash. Post (May 7, 2015), URL supra p. v; see also Mat Smith, Sur-

prise! People Don’t Like Keurig’s DRM-Protected Coffeemakers, Engadget (Feb. 6,

2015), URL supra p. vi (noting “consumers complaining everywhere online” about

Keurig’s plan).

   Consumers similarly have objected to technological protection measures im-

plemented on vehicles that prevent repairs, as those protection measures amount

to post-sale restrictions. “Vehicle owners expect to have the freedom to repair and

tinker with their vehicles, as they have done for decades,” argued one amicus to

this brief, seeking to obtain rights for consumers to overcome such technological

locks. Comments of Electronic Frontier Foundation on Exemption to Prohibition on

Circumvention of Copyright Protection Systems 16 (Copyright Office Feb. 6, 2015),

available at URL supra p. vi. And an agricultural advocacy group wrote: “We



                                        14
          Case: 14-1617    Document: 204     Page: 24    Filed: 06/19/2015




stand with a community of farmers . . . whose right to access, understand, and

fully utilize their tools should be defended.” Comments of Farm Hack on Exemption

to Prohibition on Circumvention of Copyright Protection Systems (Copyright Office

Feb. 4, 2015), available at URL supra p. vi. These civil society groups vocalized

the expectations of consumers in having full, unhindered ownership rights.

   2. Patent exhaustion advances such full ownership rights for consumers.

Specifically, exhaustion reduces information costs in buying and selling goods,

protects secondary markets, and avoids monopolistic pricing behaviors.

   A purchaser of a product does not know whether any patentee has placed

a post-sale restriction on the product that impairs the purchaser’s right to use

or later alienate that product. If that post-sale restriction is enforceable through

patent law, then second, third, and further purchasers are all substantially bur-

dened with the administrative cost of inquiring about such restrictions, or risk-

ing infringement liability absent such inquiry or in the event of a mistaken as-

sessment. See, e.g., Kirtsaeng, 133 S. Ct. at 1363. Indeed, the complexity and

remoteness of the post-sale restrictions presents an unnecessary layer of infor-

mation asymmetry upon even the initial purchaser of the encumbered product.

See Molly Shaffer Van Houweling, The New Servitudes, 96 Geo. L.J. 885, 921 (2007).

   In part by eliminating those unnecessary administrative costs on purchasers,

patent exhaustion allows for consumer-beneficial secondary markets and avoids



                                        15
         Case: 14-1617    Document: 204     Page: 25   Filed: 06/19/2015




anticompetitive price discrimination. Secondary markets offer numerous and so-

cial economic benefits to consumers, such as placing lower-cost used goods on

the market, allowing purchasers to recoup some of their purchase cost at mar-

ket rates, and protecting the environment by enabling reuse and recycling. See

Zachariah Chafee, The Music Goes Round and Round: Equitable Servitudes and

Chattels, 69 Harv. L. Rev. 1250, 1261 (1956) (describing “policy in favor of mo-

bility” long embraced by personal property law). Without the patent exhaustion

doctrine, however, manufacturers would be free to terminate secondary markets

by mere conditions upon sale.

   Furthermore, secondary markets prevent manufacturers from engaging in

price discrimination because such markets enable arbitrage that corrects for such

discrimination. While patentees have certain pricing power inherent in their

patent rights, patent exhaustion ensures that such power does not extend beyond

what the patent monopoly contemplates and into the territory of anticompetitive,

anti-consumer behavior.

   3. Patent exhaustion also protects consumers’ rights to repair and innovate

upon their purchased products.

   It is no infringement to repair a patented product, and that right of repair is

specifically grounded in patent exhaustion. See Aro Mfg. Co. v. Convertible Top

Replacement Co., 377 U.S. 476, 497 (1964). Eroding the patent exhaustion doctrine



                                       16
            Case: 14-1617    Document: 204     Page: 26   Filed: 06/19/2015




could potentially deprive consumers of substantial choice of whether to repair

or replace, and it could force them to choose repair options based primarily on

patentee authorization rather than price and quality.

      Additionally, a great deal of innovation arises from tinkerers: “people and

firms who invent things intending to use them rather than sell them.” See Eric

von Hippel, People Don’t Need a Profit Motive to Innovate, Harv. Bus. Rev., Nov.

2011, available at URL supra p. vii. Patent exhaustion opens the door to that

“freedom to tinker” that fuels user-driven innovation. Failing to protect that in-

novation, through patent exhaustion and other doctrines, would contravene the

public interest purpose of patents to promote progress.

      Thus, patent exhaustion protects numerous important consumer interests. To

best serve those interests, this Court should broadly read the patent exhaustion

doctrine and reject limitations on it such as those that Lexmark seeks here.


II.    Jazz Photo Should Be Overruled, as an International Autho-
       rized Sale Should Give Rise to Exhaustion

      In Jazz Photo Corp. v. International Trade Commission, 264 F.3d 1094 (Fed. Cir.

2001), this Court held that an authorized sale of a patented product outside the

United States did not give rise to patent exhaustion. However, in Kirtsaeng, the

Supreme Court concluded that an authorized sale of a copyrighted book outside

the United States did give rise to copyright exhaustion.


                                          17
          Case: 14-1617    Document: 204      Page: 27   Filed: 06/19/2015




   This Court should now overrule Jazz Photo in light of Kirtsaeng, for two rea-

sons. First, Lexmark’s sole argument against applicability of Kirtsaeng, namely

that the decision was limited to statutory construction of copyright, is flatly con-

tradicted by the Supreme Court’s broad appeal to general principles of protect-

ing consumers’ interests in property ownership, principles that apply equally to

patent as to copyright. Second, international patent exhaustion is a preferable

policy as it guarantees patentees fair compensation for authorized sales while

avoiding sanctioned price discrimination and unnecessary administrative costs.


A. Kirtsaeng’s Reasoning About the Copyright First Sale Doc-
   trine Applies Without Distinction to Patent Exhaustion

   Kirtsaeng’s reasoning about the first sale doctrine applies directly to patent

exhaustion for two reasons: first, the broad rationales about consumer protection

that are the foundation of that decision apply directly to patent law; and second,

differences between patent and copyright law only strengthen the applicability

of international exhaustion to patent.

   1. The Supreme Court’s holding in Kirtsaeng was based largely upon con-

sideration of the underlying legal rationales for copyright exhaustion, and those

rationales apply to patent exhaustion.

   The very posing of the question presented in Kirtsaeng demonstrates the

Supreme Court’s focus on broad, general principles:


                                         18
          Case: 14-1617     Document: 204     Page: 28    Filed: 06/19/2015




      Putting section numbers to the side, we ask whether the “first sale”
      doctrine applies to protect a buyer or other lawful owner of a copy . . .
      lawfully manufactured abroad. Can that buyer bring that copy into
      the United States (and sell it or give it away) without obtaining per-
      mission to do so . . . ?


133 S. Ct. at 1355. These questions are no less relevant in the patent context.

   Kirtsaeng then cited Lord Coke to demonstrate the centuries-old refusal to

recognize lasting restraints on the alienation of chattels. See id. at 1363. By treat-

ing copyright first sale as a “common-law doctrine with an impeccable historical

pedigree,” the Supreme Court placed the focus of that copyright doctrine upon the

interests of the chattel owner in opposition to the copyright holder: “A law that

permits a copyright holder to control the resale or other disposition of a chattel

once sold,” said the Court, is “similarly against Trade and Traffic, and bargaining

and contracting.” Id. (quoting 1 Coke, supra, § 360, at 223) (internal alterations

and quotations omitted). The Court applied this reasoning to sale of a book un-

der copyright law, but the reasoning applies with equal force to sale of a toner

cartridge under patent law.

   Next, Kirtsaeng detailed two of the consumer-oriented rationales behind the

law’s disfavor of restraints of alienation. First, the Court noted “the importance

of leaving buyers of goods free to compete with each other when reselling or

otherwise disposing of those goods,” specifically noting that such competition

“can work to the advantage of the consumer.” Id. (citing Leegin Creative Leather


                                         19
           Case: 14-1617    Document: 204      Page: 29    Filed: 06/19/2015




Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 866 (2007), and 1 Phillip E. Areeda & Herbert

Hovenkamp, Antitrust Law § 100, at 4 (3d ed. 2006)). Second, the Court reasoned

that a broad reading of first sale avoids “the administrative burden of trying to

enforce restrictions upon difficult-to-trace, readily movable goods,” and thus pro-

motes information efficiency and certainty in personal property ownership. Id. at

1363–64.

   Both of these rationales apply equally to patent law. International patent

exhaustion, just like international first sale for copyright, will promote the same

secondary markets and will relieve the same administrative burdens. See Section

I.C supra p. 13. Just as first sale in Kirtsaeng prevents the worrying implications of

lasting restraints on books, international patent exhaustion here will prevent the

worrying implications of invisible restraints tied to patented articles sold outside

the United States, restraints that buyers have no clear way of divining.

   2. While patent law exhibits several differences from copyright law rele-

vant to their respective exhaustion doctrines, those differences in fact require

application of international patent exhaustion more forcefully.

   The lack of a statutory codification of patent exhaustion strengthens

Kirtsaeng’s applicability here. If patent exhaustion were implemented explicitly

in the text of the Patent Act, the text of the statute would control. However, in

the absence of statutory limitations, the doctrine is subject to common law de-



                                          20
          Case: 14-1617      Document: 204     Page: 30    Filed: 06/19/2015




velopment. Common law doctrines of copyright and patent law have historically

drawn from each other, due to the “historic kinship” of the two doctrines. Sony

Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 439 (1984); see, e.g., Bauer

& Cie v. O’Donnell, 229 U.S. 1, 13 (1913) (applying copyright first sale doctrine

of Bobbs-Merrill to patent); Sony, 464 U.S. at 439–42 (importing patent “substan-

tial noninfringing uses” doctrine into copyright); Metro-Goldwyn-Mayer Studios

Inc. v. Grokster, Ltd., 545 U.S. 913, 935–37 (2005) (importing patent inducement

into copyright); Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2070

(2011) (citing Grokster in assessing patent inducement law).

   Additionally, the wide scope of infringement of patents suggests that inter-

national exhaustion is strongly necessary. Patents can be infringed by merely

using a patented article. See 35 U.S.C. § 271(a) (2012). So while one will not in-

fringe copyrights by reading a paperback book, one may infringe patents by using

patented items. Lack of international patent exhaustion thus potentially affects

a wide range of consumers, thus multiplying the consumer protection rationales

that motivated the Kirtsaeng Court.

   Accordingly, Kirtsaeng applies with at least equal, if not more, force to patent

exhaustion, and this Court should overrule Jazz Photo.




                                          21
           Case: 14-1617    Document: 204      Page: 31    Filed: 06/19/2015




B.    International Exhaustion Is the Preferable Policy, Because
      It Avoids Anticompetitive Effects

     As a matter of policy, the international exhaustion contemplated by Kirtsaeng

is better than the nationalized regime of Jazz Photo. Patent owners have equal

opportunity under either policy to receive fair compensation for authorized sales,

but international exhaustion avoids substantial effects against public policy and

the consumer good.

     As Jazz Photo explains, exhaustion depends on whether or not there has been

such a disposition of the article that it may fairly be said that the patentee has

received his reward for the use of the article. 264 F.3d at 1105 (quoting Intel

Corp. v. ULSI Sys. Tech., Inc., 995 F.2d 1566, 1568 (Fed. Cir. 1993)).⁵ Wherever goods

are sold under license, the patentee has been compensated at the price reached

through negotiation with the licensee, regardless of where the sale occurs. The

patentee is free to account, in its pricing, for the eventual arbitrage of the licensed

products within or beyond the borders of the country of manufacture and sale.

International exhaustion thus allows for fair compensation of the patent holder.

    ⁵In contrast, where foreign sale of an article is not authorized by the U.S.
patentee, exhaustion should not occur. Boesch v. Gräff involved a situation where
the patented article had not been sold under license, as the seller of the article was
a third party with no license to the relevant patents. See 133 U.S. 697, 699 (1890).
That no patent exhaustion was deemed to have occurred after an unauthorized
sale in Boesch merely underscores the view that exhaustion should occur after an
authorized sale.



                                          22
          Case: 14-1617    Document: 204      Page: 32    Filed: 06/19/2015




   The real effect of international patent exhaustion, then, is that it prevents anti-

consumer price discrimination. Besides representing a pure windfall to manufac-

turers at the expense of consumer dollars, price discrimination can be the basis of

anticompetitive acts, as antitrust laws recognize. See Robinson-Patman Price Dis-

crimination Act, 15 U.S.C. § 13 (2012); Brooke Group Ltd. v. Brown & Williamson

Tobacco Corp., 509 U.S. 209, 219–20 (1993). If foreign sales do not exhaust patent

rights, then patentees will be free to use differential pricing to extract super-

monopolistic rents by country without the check of free market arbitrage.

   Lexmark and at least one amicus claim that the Jazz Photo rule is benefi-

cial because it theoretically can lower prices for pharmaceuticals in developing

countries. See Lexmark Opening Br. 55 n.17; AIPLA Br. 15–17. But actual empir-

ical evidence contradicts that premise. For one thing, “drug prices in very poor

countries are often not particularly low” due to large income disparities in such

countries, which incentivize drug manufacturers to cater to only the wealthiest

populations there. Sean Flynn et al., An Economic Justification for Open Access to

Essential Medicine Patents in Developing Countries, 37 J.L. Med. & Ethics 184, 190

(2009), available at URL supra p. vi. Furthermore, it is not price discrimination

that enables access to medicines in developing nations; case studies find that it is

international exhaustion that reduces prices and ameliorates the crisis of access

to affordable medicines. See Sisule F. Musungu & Cecilia Oh, The Use of Flexibil-



                                         23
             Case: 14-1617    Document: 204     Page: 33   Filed: 06/19/2015




ities in TRIPS by Developing Countries: Can They Promote Access to Medicines? 30

(2005), available at URL supra p. vi; Jayashree Watal, Access to Essential Medicines

in Developing Countries: Does the WTO TRIPS Agreement Hinder It? 4–5 (Ctr. for

Int’l Dev., Harvard Univ., Science, Technology and Innovation Discussion Paper

No. 8, 2000), URL supra p. vii.

       And in any event, patent exhaustion law, which affects all industries and

products, is not the right vehicle to address the specific needs of the pharma-

ceutical industry. Agencies like the FDA already have authority to regulate drug

importation. See, e.g., 21 U.S.C. § 381 (2012). To the extent that it is desirable to

prevent drug re-importation to permit for lower prices abroad, that is a job for

Congress and the FDA, not patent law.

       Insofar as price discrimination can act against the public and consumer inter-

est, it would certainly be a perverse result for patent exhaustion, a doctrine in-

tended to protect the consumer interest, to actively enable such negative behav-

ior. International patent exhaustion avoids that undesirable consequence, and

accordingly it is the better policy.


III.     Post-Sale Restrictions on Use of a Product Do Not Abrogate
         Patent Exhaustion for That Product

       This Court should hold Mallinckrodt, Inc. v. Medipart, Inc., 976 F.2d 700 (Fed.

Cir. 1992), overruled in view of Quanta Computer, Inc. v. LG Electronics, Inc., 553


                                           24
          Case: 14-1617     Document: 204      Page: 34    Filed: 06/19/2015




U.S. 617 (2008), for at least three reasons. First, Mallinckrodt treated patent ex-

haustion as a type of “implied license” to use a patented item, but the expansive

exhaustion doctrine contemplated in Quanta and other cases proves that implied

license theory inadequate. Second, the conditional sale doctrine of Mallinckrodt

cannot be squared with the common law’s and the exhaustion doctrine’s aver-

sion to the anticompetitive and anti-consumer practices that post-sale restraints

cause. Third, to the extent that Lexmark has a legitimate right to enforce its post-

sale encumbrances, that right can and must be enforced through contract law, not

intellectual property law that was designed for wholly different purposes.


A. Mallinckrodt’s Cramped “Implied License” Theory Cannot
   Fully Embrace Quanta’s Broad View of Exhaustion

   The word “exhaustion” implies a complete and utter termination of force, and

for over a hundred years the understanding of patent exhaustion has fit that

model. Quanta stated that “the initial authorized sale of a patented item ter-

minates all patent rights to that item.” 553 U.S. at 625 (emphasis added). Other

cases are equally forceful in asserting that patent exhaustion causes total evapo-

ration of patent rights. See, e.g., United States v. Univis Lens Co., 316 U.S. 241, 250

(1942) (“the patentee may not thereafter . . . control the use or disposition of the

article”); Adams v. Burke, 84 U.S. (17 Wall.) 453, 456 (1873) (upon sale, patentee

“parts with the right to restrict that use”); Bauer & Cie, 229 U.S. at 17 (“The right


                                          25
          Case: 14-1617     Document: 204     Page: 35   Filed: 06/19/2015




to vend conferred by the patent law has been exercised, and the added restriction

is beyond the protection and purpose of the act.”).

   But in Mallinckrodt, the Federal Circuit permitted patentees to use the device

of a “conditional sale,” allowing them to revive and reassert patent rights after

the product had fully and irrevocably changed hands. See 976 F.2d at 708. This

view upends patent exhaustion, turning it from a termination of rights, as the

Supreme Court described it, into a mere “implied license” to those rights, revoca-

ble at the will of the patentee. This view cannot be squared with Supreme Court

precedents.⁶

   Notably, this Court relied upon the Mallinckrodt doctrine to hold that patent

exhaustion did not apply to computer microprocessors sold under conditions pro-

hibiting downstream combination of those microprocessors with other compo-

nents. See LG Elecs., Inc. v. Bizcom Elecs., Inc., 453 F.3d 1364, 1369 (2006). It was

this very ruling that was reversed in Quanta. See 553 U.S. at 637.

   Patent exhaustion is thus far broader, stronger, and more absolute than the

weak and easily revocable “implied license” conception of Mallinckrodt. Accord-

ingly, that case cannot stand as good law, and should be overruled.

    ⁶See Mark R. Patterson, Contractual Expansion of the Scope of Patent Infringe-
ment Through Field-of-Use Licensing, 49 Wm. & Mary L. Rev. 157, 168–71 (2007);
James B. Kobak, Jr., Contracting Around Exhaustion: Some Thoughts About the
CAFC’s Mallinckrodt Decision, 75 J. Pat. & Trademark Off. Soc’y 550, 554–59
(1993); Richard H. Stern, The Unobserved Demise of the Exhaustion Doctrine in U.S.
Patent Law: Mallinckrodt v. Medipart, 15 Eur. Intell. Prop. Rev. 460, 461 (1993).

                                         26
          Case: 14-1617    Document: 204     Page: 36    Filed: 06/19/2015




B.    The Conditional Sale Doctrine Permits Manufacturers to
      Burden Consumers’ Use of Purchased Goods Unduly

     Besides being inconsistent with Quanta, the conditional sale doctrine of

Mallinckrodt effectively allows manufacturers unilaterally to abrogate all of the

consumer benefits of patent exhaustion. Lexmark’s effort here is just one exam-

ple of the mischief that Mallinckrodt unleashed by ushering in an era of chattel

servitudes backed by patent law.

     Although the accused infringers here are remanufacturers, the conditional

sale doctrine opens up the remarkable possibility that Lexmark could bring patent

infringement suits against Lexmark’s own customers who lawfully purchased

products from authorized vendors. This is because Mallinckrodt allows Lexmark

to use a “single use” notice as a contract to trump the patent exhaustion principle.

See 976 F.2d at 709.

     Demonstrating the particular strangeness of the Mallinckrodt doctrine, the

single-use restriction appears to come into effect at the time that a Lexmark toner

cartridge is opened, not at the time it is purchased. See Lexmark Opening Br. 8.

If such a restriction were enforceable, it would mean that an unrestricted autho-

rized sale could suddenly become conditional, potentially months or years after

money and product changed hands. These bizarre results show how the condi-

tional sale concept of Mallinckrodt is at odds with the consumer-protective patent

exhaustion doctrine.

                                        27
          Case: 14-1617     Document: 204      Page: 37    Filed: 06/19/2015




   Because the conditional sale doctrine makes every consumer a potential in-

fringer, it is not surprising that the doctrine also works directly against the con-

sumer interest. As noted previously, patent exhaustion benefits consumers by

protecting secondary markets, enabling the right to repair, and permitting for

user-driven innovation. See Section I.C supra p. 13. But “single use only” and “not

for resale” labels and notices precisely annihilate these benefits. Furthermore,

patent exhaustion avoids administrative costs of tracing goods. See Kirtsaeng,

133 S. Ct. at 1363–64. But allowing patent rights to spring forth unexpectedly

due to a purchaser’s activities creates the exact administrative inefficiency that

the law has sought to avoid.

   Mallinckrodt thus hands a windfall to patent owners with no corresponding

public gain, a “wealth transfer from customers to the patentee.” Richard H. Stern,

Post-Sale Patent Restrictions after Mallinckrodt—An Idea in Search of Definition, 5

Alb. L.J. Sci. & Tech. 1, 10–11 (1994). Under first principles of patent law, “the lim-

ited and temporary monopoly granted to inventors was never designed for their

exclusive profit or advantage.” See Motion Picture Patents Co. v. Universal Film

Mfg. Co., 243 U.S. 502, 511 (1917) (quoting Kendall v. Winsor, 62 U.S. (21 How.)

322, 327–28 (1859)). Holding to those principles requires rejecting the condi-

tional sale doctrine of Mallinckrodt that currently gives patentees such an unfair

advantage.



                                          28
           Case: 14-1617    Document: 204    Page: 38   Filed: 06/19/2015




C.    Intellectual Property Law Should Not Become a Vehicle of
      Contract Enforcement Against Non-Privy Third Parties

     Though the anticompetitive behaviors described above are undesirable and

against the public interest, Lexmark and at least one amicus suggest that it is

within the manufacturer’s rights to undertake such practices with respect to its

products. See discussion supra p. 23. Perhaps this is so, but to the extent that it

is, the manufacturer’s proper vehicle of enforcement is contract, not patent law.

     Many sorts of post-sale restrictions can be enforced through contract, though

emphatically not through intellectual property law. Quanta specifically noted

that “the authorized nature of the sale to Quanta does not necessarily limit LGE’s

other contract rights,” even though that authorized sale triggered exhaustion. 553

U.S. at 637; see also Keeler v. Standard Folding Bed Co., 157 U.S. 659, 666 (1895)

(finding it “obvious” that limitations on use of patented article would “arise as a

question of contract, and not [under] the patent laws”); Storage Tech., 421 F.3d at

1319 (discussed supra p. 8).

     And it should come as no surprise that contract law, and not patent law, is

the correct avenue for these sorts of arrangements. Contract law is designed to

permit broad and diverse agreements between two parties in privity with each

other. Its purpose is to allow private entities to discover and negotiate deals to

the best advantage of themselves, and so contract law allows for a wider range

of permissible arrangements.

                                        29
         Case: 14-1617    Document: 204     Page: 39   Filed: 06/19/2015




   Patent law is not like that. Its purpose is not merely to advantage individual

parties, but rather to bring about the public good of innovation—“to promote,”

as the Constitution says, “the Progress of Science and the useful Arts.” Taken

alone, a patent is a powerful right, far more powerful than a contract because

of its ability to reach unknown, unrelated, and unexpecting third parties. Left

unchecked, the patent right could expansively encroach upon that public interest

and have the reverse effect of harming society.

   That is why doctrines like patent exhaustion exist: to ensure that patent law

remains carefully tailored to promoting progress rather than constraining con-

sumers. These fundamental doctrines, these values so central to a functioning

and advancing society, should guide this Court in its decision today.




                                       30
         Case: 14-1617     Document: 204    Page: 40   Filed: 06/19/2015




                                CONCLUSION

   For the foregoing reasons, this Court should hold Jazz Photo overruled and

reverse the district court on the first question, and hold Mallinckrodt overruled

and affirm the district court’s holding on the second question.


                                Respectfully submitted,


Dated: June 19, 2015            /s/ Charles Duan
                                Charles Duan
                                   Counsel of Record
                                Sherwin Siy
                                Raza Panjwani
                                Public Knowledge
                                1818 N Street NW, Suite 410
                                Washington, DC 20036
                                (202) 861-0020
                                cduan@publicknowledge.org

                                Vera Ranieri
                                Electronic Frontier Foundation
                                815 Eddy Street
                                San Francisco, CA 94109
                                (415) 436-9333
                                vera@eff.org
                                Counsel for amici curiae




                                       31
           Case: 14-1617   Document: 204     Page: 41   Filed: 06/19/2015




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Dated: June 19, 2015             /s/ Charles Duan
                                 Charles Duan
                                 Counsel for amici curiae




                                        32
          Case: 14-1617    Document: 204   Page: 42   Filed: 06/19/2015




                          CERTIFICATE OF SERVICE

   I hereby certify that on June 19, 2015, I caused the foregoing Brief of Public

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ware Association, the Digital Right to Repair Coalition, and Public Cit-

izen, Inc. as Amici Curiae in Support of Appellant Impression Products

to be electronically filed with the Clerk of the Court using CM/ECF, which will

automatically send email notification of such filing to the following counsel of

record:

    Timothy Colin Meece            tmeece@bannerwitcoff.com
    Audra Carol Eidem Heinze       aheinze@bannerwitcoff.com
    Bryan Medlock, Jr.             bmedlock@bannerwitcoff.com
    Jason Steven Shull             jshull@bannerwitcoff.com
    Banner & Witcoff, Ltd.
    Benjamin Beaton                bbeaton@sidley.com
    Constantine L. Trela, Jr.      ctrela@sidley.com
    Sidley Austin LLP
    Steven B. Loy             steven.loy@skofirm.com
    Stoll, Keenon & Park, LLP
    Edward F. O’Connor             eoconnor@avynolaw.com
    Avyno Law, P.C.




Dated: June 19, 2015            /s/ Charles Duan
                                Charles Duan
                                Counsel for amici curiae




                                      33
